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IN THE UNITED s'rA'rEs DISTRICT coUR'r wm m
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 JUH -9 PM g-h
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DENARIO BUSH,
Plaintiff,
No.: 04-2273-Ma/V

`V`S.

CITY OF MEMPHIS, et al.,

\.d\,¢\.rvv\_¢v'~_¢\.¢

Defendants.

 

JOINT BRGFOGEB SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
June 9, 2005. Present were Walter L. Bailey, Jr., counsel for
plaintiff, and Lee J. Bloomfield and Henry L. Klein, counsel for
defendants. At the conference, the following dates were
established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(l)8 June 23,
2005

JOINING PARTIES: August 9, 2005
AMENDING PLEADINGS: August 9, 2005
INITIAL MOTIONS TO DISMISS: September 9, 2005
COMPLETING ALL DISCOVERY: February 9, 2006
(a) DOCUMENT PRODUCTION: February 9, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: February 9, 2006 '

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

This document entered on the dockeLsheet! comp|lance 3 q
with eula 53 and/or 79(3) FHcP on -’ A§/OS

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(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: December 9, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: January 9, 2006

(3) EXPERT WITNESS DEPOSITIONS: February 9, 2006
FILING DISPOSITIVE MOTIONS: March 9, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All nmtions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury, and the trial is expected to last
3-4 day(s). The pretrial order date, pretrial conference date, and
trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessaryl it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

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This order has been entered after consultation with trial
counsel pursuant to notice.

Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

F<OV¢W 5 Q/awr

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE= Q,//M,¢ /‘9,'7‘9”5”

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 39 in
case 2:04-CV-02273 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

